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 1   CARL M. FALLER SBN: 70788
     Attorney at Law
 2   Post Office Box 912
     Fresno, CA 93714
 3   Tel: 559-226-1534
     Fax: 559-734-0867
 4   carl.faller@fallerdefense,com
 5   Attorney for Defendant
     SARAH RENEE TODD
 6

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 8
                            IN THE UNITED STATED DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                       )   Case No.: 1:09-cr-00388 LJO
12                                                   )
                    Plaintiff,                       )   STIPULATION TO CONTINUE
13                                                   )   SENTENCING HEARING
            vs.                                      )
14                                                   )   Date: March 4, 2011
                                                     )   Time: 8:45 am
15   SARAH RENEE TODD,                               )   Honorable Lawrence J. O’Neill
                                                     )
16                  Defendant.
17          It is hereby stipulated by and between the parties hereto, through their respective
18   attorneys of record, as follows:
19          The sentencing hearing in this matter is currently set for March 4, 2011 at 8:45 am.
20          By stipulation of the parties, it is respectfully requested that the sentencing hearing be
21   continued until March 11, 2011 at 8:45 am.
22          The reasons for this request are as follows: Defense counsel completed trial in Tulare
23   County Superior Court in the case of People v. Danny Williams, Case No. VCF222476, on
24   February 23, 2011. Based on counsel’s unavailability the sentencing was previously continued
25   until March 4, 2011. However, in the interim, defendant’s husband secured employment out of
26   town, and is unable to attend the sentencing as currently scheduled. However, the schedule of
27   his new employment will allow him to be in attendance on March 11, 2011. This is the only
28
               Case 1:09-cr-00388-DAD Document 62 Filed 03/02/11 Page 2 of 3



 1   contact this defendant has ever had with the criminal justice system and the support of her family
 2   at sentencing is a significant factor in this event in her life.
 3           Therefore, it is respectfully requested that the court grant one further continuance until
 4   March 4, 2011, at 8:45 am.
 5   Dated: March 1, 2011                                     Respectfully submitted,
 6

 7                                                            /s/ Carl M. Faller_______
                                                              CARL M. FALLER
 8
                                                              Attorney for Defendant
 9                                                            SARAH RENEE TODD

10                                                            BENJAMIN B. WAGNER
                                                              United States Attorney
11

12
                                                      By      /s/ Mark J. McKeon____
13                                                            MARK J. McKEON
                                                              Assistant U.S. Attorney
14                                                            Attorney for the United States

15
             ORDER:
16

17           Based upon the stipulation of the parties and good cause appearing, it is hereby

18   ORDERED that the sentencing hearing currently set for March 4, 2011 at
19   8:45 am, be continued to March 11, 2011 at 8:45 am.
20
     DATED: March 2, 2011
21
                                                              _/s/ Lawrence J. O’Neill______
22                                                            LAWRENCE J. O’NEILL
                                                              United States District Judge
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